     Case 1:15-cr-00077-JRH-BKE Document 135 Filed 09/09/15 Page 1 of 1



                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF GEORGIA
                                AUGUSTA DIVISION



UNITED STATES OF AMERICA

                                                     CR 1:15-077

MELVIN HOWARD




                 ORDER ON MOTION FOR LEAVE OF ABSENCE



      Keith B. Johnson, having made application to the Court for a leave of absence,

and it being evident from the application that the provisions of Local Rule 83.9 have

been complied with, and no objections having been received;

      IT IS HEREBY ORDERED THAT Keith B. Johnson be granted leave of

absence for the following period: October 26, 2015 through October 30, 2015;

November 2, 2015 through November 10, 2015; November 23, 2015 through

November 30, 2015; December 21, 2015 through December 31, 2015; and

January 1, 2016 through January 8, 2016.

      This   /    day of September, 2015.




                                                                LHALL
                                        United Spates District Judge
                                                 District of Georgia
